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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
VS.                                        §   CRIMINAL NO. H-06-52-7
                                           §
                                           §
FIDENCIO GALLEGOS                          §

                                         ORDER

        Defendant Gallegos filed an unopposed motion to continue the sentencing hearing

(Docket Entry No. 796). The motion for continuance is GRANTED. The sentencing hearing

is reset to May 27, 2009, at 9:00 a.m.


              SIGNED on January 26, 2009, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge
